             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL NO. 1:08CV442-T-02
                             (1:05CR31-2-T)


MARTINEOUS LEON HOPPER,                  )
                                         )
                 Petitioner,             )
                                         )
           vs.                           )     MEMORANDUM AND
                                         )        ORDER
UNITED STATES OF AMERICA,                )
                                         )
              Respondent.                )
______________________________           )


     THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. § 2255, filed

September 15, 2008; and on the Government’s Answer, filed May 1, 2009.

For the reasons stated herein, Petitioner’s motion will be granted to the

extent that his criminal judgment will be vacated and he will be

resentenced.



                        I. PROCEDURAL HISTORY

     On April 4, 2005, Petitioner and three other individuals were charged

with conspiracy to possess with the intent to distribute 50 grams or more of


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cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count One);

and Petitioner was charged with two counts of possessing at least five

grams of cocaine base, or aiding and abetting in that offense, in violation of

21 U.S.C. § 841 and 18 U.S.C. § 2 (Counts Seven and Nine). Bill of

Indictment, filed April 4, 2005.

      Subsequently, Petitioner entered into a written plea agreement with

the Government whereby he agreed to plead guilty to Count One in

exchange for the dismissal of Counts Seven and Nine. Plea Agreement,

filed July 7, 2005. Petitioner’s plea agreement also contained his

stipulation that “[t]he amount of cocaine base that was known to or

reasonably foreseeable by [Petitioner] was at least 35 grams but less than

50 grams.” Id. at 2. Furthermore, the plea agreement also states that,

notwithstanding any recommendations concerning Petitioner’s offense

level, if the Probation Office determined from his criminal history that

Petitioner was a career offender, then that provision would be applied to

his sentence. Id. at 2-3. Additionally, the plea agreement contains a

waiver by which Petitioner forfeited his right to contest his conviction and/or

sentence in any proceeding on any grounds, except ineffective assistance

of counsel and/or prosecutorial misconduct. Id. at 5.



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      On July 12, 2005, Petitioner appeared before the Magistrate Judge

with one of his two retained attorneys and formally entered his guilty plea.

During that proceeding, the Magistrate Judge engaged Petitioner in the

Court’s standard, lengthy plea colloquy pursuant to Rule 11 to ensure that

his guilty plea was knowingly and voluntarily made and entered.

Transcript of Plea and Rule 11 Hearing, filed September 11, 2006.

Based on that colloquy, the Magistrate Judge found that his guilty plea was

intelligently and freely made and that he understood the charge, penalties

and consequences of his plea. Id. at 27-28; see also Rule 11 Inquiry and

Order of Acceptance of Plea, filed July 12, 2005, at 9. Accordingly, the

Magistrate Judge accepted Petitioner’s guilty plea.

      On March 7, 2006, Petitioner’s second retained attorney submitted

objections to Petitioner’s presentence report to the U.S. Probation Officer.

Addendum to the Presentence Report, dated March 9, 2006. Pertinent

here, counsel argued that Petitioner could not be sentenced as a career

offender because he had neither the number nor kind of prior convictions

that would trigger application of the subject provision. More specifically,

counsel argued that Petitioner had only one qualifying conviction and, in

any event, that a jury, not the Court, had to make the factual




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determinations concerning whether any of the prior convictions were of a

type that subjected Petitioner to career offender status as required by

Shepard v. United States, 544 U.S. 13 (2005).

      On April 25, 2006, the undersigned conducted a factual basis and

sentencing hearing. At the outset of that proceeding, the Court sustained

Petitioner’s objection to a managerial enhancement and reduced his

offense level by two points. Transcript of Sentencing Hearing, filed

April 21, 2009, at 4-5; Presentence Investigation Report, prepared

January 26, 2006, ¶ 43. However, the Court overruled Petitioner’s

objections to being sentenced as a career offender. Transcript, at 14-15.

Thereafter, the Court adopted the balance of the Report’s calculations,

namely, that pursuant to U.S. Sentencing Guidelines § 4B1.1(b)(A),

Petitioner’s base offense level was 37 and with the three-point reduction

for acceptance of responsibility, his total offense level was 34; that

pursuant to the same provision of the Guidelines, his criminal history

category was VI; and that his advisory Guidelines sentencing range was

262 to 327 months imprisonment. Id. at 18; Presentence Report, ¶¶ 46,

49, 68, 111. After considering defense counsel’s request for a sentence at

the low end of the calculated range, the Court sentenced Petitioner to a




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term of 262 months imprisonment. Judgment in a Criminal Case, filed

May 15, 2006.

      Petitioner timely appealed his case to the Fourth Circuit Court of

Appeals. However, by a mandate issued on April 16, 2007, the Circuit

granted the Government’s motion to dismiss and summarily dismissed

Petitioner’s appeal. United States v. Hopper, No. 06-4470 (4th Cir.

March 23, 2007). On October 1, 2007, the United States Supreme Court

denied Petitioner’s petition for a writ of certiorari. Hopper v. United

States, 128 S. Ct. 167 (2007).

      In his timely filed motion to vacate, Petitioner raises a single, but

multi-pronged claim, arguing that he was subjected to ineffective

assistance of counsel at sentencing by virtue of his trial attorneys’ failure to

“familiarize [themselves] with the career offender statute for sentencing,”

and by their failure “to object to a sentence under § 841(b)(1)(A) when in

fact [he] pleaded guilty to § 841(b)(1)(B) with a[n] amount of 35 grams but

less than 50 grams of cocaine base”; and that he was subjected to

ineffective assistance of counsel on appeal by virtue of his appellate

attorney’s failure to raise the foregoing alleged instances of ineffectiveness




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by sentencing counsel. Motion to Vacate, filed September 15, 2008, at

5.

       On May 1, 2009, the Government filed an answer to Petitioner’s

motion in which it concedes that his offense level was calculated

erroneously, resulting in a sentence in excess of the lawful term, and that

his attorneys were ineffective for having failed to contest that calculation.

Government’s Answer to Petitioner’s Motion to Vacate Sentence, filed

May 1, 2009, at 3-4. As the Government explains, Petitioner was charged

with having been involved with at least 50 grams of cocaine base. Id. at 1.

However, in the plea agreement, the Government and Petitioner stipulated

that he was responsible for “at least 35 grams but less than 50 grams of

cocaine base,” thereby reducing his sentencing exposure from a statutory

term of 10 years up to a maximum of life imprisonment under 21 U.S.C. §

841(b)(1)(A)(iii) down to a minimum of 5 but no more than 40 years

imprisonment under § 841(b)(1)(B)(iii). Therefore, once Petitioner was

classified as a career offender, his sentence should have been calculated

using U.S. Sentencing Guidelines § 4B1.1(b)(B), which corresponds to a

statutory maximum term of 40 years and provides a base offense level of




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34, rather than § 4B1.1(b)(A), which corresponds to a statutory maximum

term of life imprisonment and provides a base offense level of 37.

      Further, the Government asserts, in light of the fact that Petitioner

was sentenced to a term at the low end of the erroneously calculated

sentencing range, there is a reasonable probability that had his range been

properly calculated (at 188 to 235 months), he would have received a lower

sentence than was imposed. Id. at 3-4. Therefore, the Government

suggests that the Court vacate Petitioner’s sentence and resentence him

under the correctly calculated range. Id. at 4.



                               III. DISCUSSION

      Petitioner’s motion is based on an error made in his sentencing

guidelines calculations that was not discovered by any one, including

Petitioner’s attorneys, at the time of his sentencing. In order to establish

that his attorneys’ failure to challenge this error violated his Sixth

Amendment right to effective counsel, Petitioner must show that (i) his

attorneys’ performances were, under all circumstances, unreasonable

under prevailing professional norms, and (ii) there is a reasonable




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possibility that, but for counsels’ error, a different result would have

obtained. Strickland v. Washington, 466 U.S. 668, 687 (1984).

      In the instant case, Petitioner was charged with having conspired to

traffic in an amount of cocaine base which, upon conviction, would have

exposed him to a minimum of 10 years up to a maximum of life

imprisonment. However, Petitioner essentially pled guilty to a lesser

included offense.

      Under the U.S. Sentencing Guidelines, courts are directed to base

career offender calculations on a defendant’s statutory exposure. By virtue

of his plea agreement, Petitioner’s statutory maximum term was 40 years.

Therefore, Petitioner’s sentence should have been calculated under §

4B1.1(b)(B) (corresponding to a statutory term of “25 years or more” but

less than life imprisonment), which would have provided a base offense

level of 34. After applying the three-level reduction for acceptance of

responsibility, Petitioner’s total offense level should have been calculated

at 31. Applying that total offense level with a criminal history category of

VI, his corresponding range of imprisonment should have been 188 to 235

months.




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       Consequently, the Court finds, as Petitioner contends and the

Government concedes, that defense counsel were prejudicially ineffective

for having failed to object to Petitioner’s erroneous sentencing calculations.

See Smith v. United States, 871 F. Supp. 251, 255-56 (E.D. Va. 1994)

(relief in the form of resentencing was granted on a § 2255 motion

due to trial counsel’s ineffectiveness for failing to object at

sentencing to the use of two excludable misdemeanor convictions in

defendant’s criminal history computations). To their credit however,

the Court recalls that defense counsel intently focused on whether or not

Petitioner was found to be a career offender, not whether such career

offender calculations were accurate. However, that fact is of little comfort

to Petitioner inasmuch as counsels’ failures to raise this particular issue

resulted in Petitioner erroneously receiving a sentence which was 27

months greater than the maximum term to which he otherwise should have

been subjected.

      Finally, the Court’s review of this record has revealed no factors

which warrant an upward departure or variance to the 262-month sentence

which was imposed erroneously, or to any other term beyond the

recommended range as properly calculated. Therefore, the Court




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concludes that Petitioner’s sentence must be vacated, and he must be

resentenced within the correctly calculated sentencing range.



                               IV. ORDER

     IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. § 2255 is hereby

GRANTED as outlined in the Judgment filed herewith.

                                     Signed: May 27, 2009




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